              Case 24-14153-amc                 Doc       Filed 06/30/25 Entered 06/30/25 10:21:43                               Desc Main
                                                          Document      Page 1 of 7
 Fill in this information to identify the case:

 Debtor 1              Matthew John McCloskey

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the : Eastern                  District of Pennsylvania
                                                                              (State)

 Case number           24-14153-amc



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of creditor:             Nationstar Mortgage LLC                             Court claim no. (if known):         11

 Last four digits of any number you                 XXXXXX7286                     Date of payment change:
 use to identify the debtor’s account:                                             Must be at least 21 days after date of             8/1/2025
                                                                                   this notice

                                                                                   New total payment:
                                                                                   Principal, interest, and escrow, if any            $2,370.00

 Part 1:         Escrow Account Payment Adjustment

 1.     Will there be a change in the debtor’s escrow account payment?
         No
         Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
           for the change. If a statement is not attached, explain why: __________________________________________________________
           ___________________________________________________________________________________________________
            Current escrow payment:          $ 876.05                                      New escrow payment :          $ 1,088.43

 Part 2:         Mortgage Payment Adjustment

 2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
        variable-rate account?
         No
         Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
           explain why: ___________________________________

              Current interest rate:                        %                             New interest rate:           %

              Current principal and interest payment:       $ _________                    New principal and interest payment:            $ __________

 Part 3:         Other Payment Change
 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       No
       Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
         (Court approval may be required before the payment change can take effect.)


            Reason for change: ____________________________________________________________________________


            Current mortgage payment:                $ _________                           New mortgage payment:             $ _________




Official Form 410S1                             Notice of Mortgage Payment Change                                                page 1
             Case 24-14153-amc                 Doc     Filed 06/30/25 Entered 06/30/25 10:21:43                   Desc Main
                                                       Document      Page 2 of 7
  Debtor 1             Matthew John McCloskey                                        Case number (if known) 24-14153-amc
                      First Name Middle Name Last Name


 Part 4:          Sign Here

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

       I am the creditor.
       I am the creditor’s authorized agent

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.
  X    /s/A. Michelle Hart Ippoliti                                                     Date     06/17/2025
       Signature

 Print:          A. Michelle                                         Hart Ippoliti      Title    Authorized Agent for Creditor
                 First Name            Middle Name                   Last Name

 Company         McCalla Raymer Leibert Pierce, LLP

 Address         1544 Old Alabama Road
                 Number      Street
                 Roswell                       GA                     30076
                 City                          State                  ZIP Code

 Contact phone        678-281-6537                                                      Email    michelle.ippoliti@mccalla.com




Official Form 410S1                            Notice of Mortgage Payment Change                                  page 2
Case 24-14153-amc        Doc       Filed 06/30/25 Entered 06/30/25 10:21:43         Desc Main
                                   Document      Page 3 of 7



                                                     Bankruptcy Case No.: 24-14153-amc
  In Re:                                             Chapter:             13
           Matthew John McCloskey                    Judge:               Ashely M. Chan

                                CERTIFICATE OF SERVICE

       I, A. Michelle Hart Ippoliti, of McCalla Raymer Leibert Pierce, LLP, 1544 Old Alabama
Road, Roswell, GA 30076, certify:

       That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Matthew John McCloskey
475 Dean Dr
Kennett Sq, PA 19348-1626

MICHAEL A. CIBIK                            (Served via ECF at help@cibiklaw.com)
Cibik Law, P.C.
1500 Walnut Street, Suite 900
Philadelphia, PA 19102

Kenneth E. West, Trustee                  (Served via ECF Notification)
Office of the Chapter 13 Standing Trustee
190 N. Independence Mall West, Suite 701
Philadelphia, PA 19106

United States Trustee                       (Served via ECF Notification)
Office of United States Trustee
Robert N.C. Nix Federal Building
900 Market Street, Suite 320
Philadelphia, PA 19107

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

 Executed on:     06/30/2025       By:    /s/A. Michelle Hart Ippoliti
                   (date)                 A. Michelle Hart Ippoliti
                                          Authorized Agent for Creditor
Case 24-14153-amc   Doc   Filed 06/30/25 Entered 06/30/25 10:21:43   Desc Main
                          Document      Page 4 of 7
Case 24-14153-amc   Doc   Filed 06/30/25 Entered 06/30/25 10:21:43   Desc Main
                          Document      Page 5 of 7
Case 24-14153-amc   Doc   Filed 06/30/25 Entered 06/30/25 10:21:43   Desc Main
                          Document      Page 6 of 7
Case 24-14153-amc   Doc   Filed 06/30/25 Entered 06/30/25 10:21:43   Desc Main
                          Document      Page 7 of 7
